Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 1 of 9 PageID 366




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


GUSTAVO ADOLFO DE JE GARCIA-
VELASQUEZ,

       Petitioner,

v.                                                          Case No: 8:13-cv-2854-T-30AEP
                                                            Crim. Case No: 8:08-cr-24-T-30AEP
UNITED STATES OF AMERICA,

       Respondent.



                                           ORDER

       THIS CAUSE comes before the Court upon the Petitioner’s Motion to Vacate/Set

Aside/Correct Sentence (2255) (Dkt. #1) and his Memorandum in support (Dkt. #2). Rule

4 of the Rules governing habeas cases before this Court provides in part: “If it plainly

appears from the petition and any attached exhibits that the petitioner is not entitled to relief

in the district court, the judge must dismiss the petition and direct the clerk to notify the

petitioner.” Upon consideration of the petition, the Court concludes that the petition must

be dismissed pursuant to Rule 4 of the Rules governing § 2255 cases because it is time

barred and lacks merit.

       Garcia-Velasquez acknowledges that his petition is time barred, but argues that he

should be entitled to equitable tolling. He makes several alternative arguments why he

should be entitled to equitable tolling. None of those arguments meet the requirements of

the statute or explain extraordinary circumstances sufficient to support equitable tolling.
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 2 of 9 PageID 367




The petition is therefore time barred and must be dismissed. The petition also lacks merit

because Garcia-Velasquez misunderstands this Court’s jurisdiction.

       Garcia-Velasquez bases his claim for relief on the case of United States v. Bellaizac-

Hurtado, 700 F. 3d 1245 (11th Cir. 2012):

       By this motion movant prays that his conviction be vacated and the plea
       declared to be void and voidable lacking “force and effect” of the laws
       because the offense for which he plead guilty is not an offense against the
       laws of the United States as explained by the Eleventh Circuit Court of
       Appeals in Bellaizac-Hurtado. (emphasis in original)

Petitioner’s Memorandum in support (Dkt. #2), pp. 1-2.

       In Bellaizac-Hurtado, the Eleventh Circuit held that Congress did not have the

power to criminalize an act that took place solely within the territory of a foreign country.

Garcia-Velasquez argues that reasoning applies to him because all of his acts were outside

the United States and within the territory of one or more foreign countries. But Garcia-

Velasquez misunderstands the law of jurisdiction as it applies to persons, like him, who

commit acts in conjunction with others intending effects within the United States.

       Garcia-Velasquez was charged with two counts of knowingly combining,

conspiring, and agreeing with other persons to import cocaine into the United States.

Garcia-Velasquez was extradited from Colombia and represented by private counsel

Robert Abreu of Miami, Florida. Garcia-Velasquez pled guilty to Count Two in return

for the dismissal of Count One.

       Count Two of the Superseding Indictment states:

       From an unknown date, no later than 2004, continuing thereafter up to and
       including the date of this Superseding Indictment, in the Middle District of
       Florida and elsewhere, the defendants,


                                             2
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 3 of 9 PageID 368




                 GUSTAVO ADOLFO De Je GARCIA-VELASQUEZ,
                        CARLOS RODRIGO VERA, and
                 LOPE ANTONIO LOPEZ-ORTEGA, a/k/a ‘Manuel’

      did knowingly and willfully combine, conspire and agree with other persons
      known and unknown to the Grand Jury, to possess with intent to distribute
      five (5) kilograms or more of a mixture or substance containing a detectable
      amount of cocaine, a Schedule II controlled substance, while on board a
      vessel subject to the jurisdiction of the United States, in violation of Title 46,
      United States Code, Sections 70503(a) and 70506(a) and (b) and Title 21,
      United States Code, Section 960(b)(1)(B)(ii).

Superseding Indictment (Dkt. #6), criminal case 8:08-cr-24-T-30AEP.

      Sections 70503 and 70506 provide in pertinent part:

      Section 70503. Manufacture, distribution, or possession of controlled
      substances on vessels

      (a)    Prohibitions. – An individual may not knowingly or intentionally
      manufacture or distribute, or possess with intent to manufacture or distribute,
      a controlled substance on board –

             (1)     a vessel of the United States or a vessel subject to the
      jurisdiction of the United States; or

             (2)     any vessel if the individual is a citizen of the United States or
      a resident alien of the United States.

      (b)   Extension beyond territorial jurisdiction. – Subsection (a) applies
      even though the act is committed outside the territorial jurisdiction of the
      United States.

      Section 70506. Penalties

      (a)    Violations. – A person violating section 70503 of this title shall be
      punished as provided in section 1010 of the Comprehensive Drug Abuse
      Prevention and Control Act of 1970 (21 U.S.C. 960). However, if the
      offense is a second or subsequent offense as provided in section 1012(b) of
      that Act (21 U.S.C. 962(b)), the person shall be punished as provided in
      section 1012 of that Act (21 U.S.C. 962).



                                              3
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 4 of 9 PageID 369




       (b)    Attempts and conspiracies. – A person attempting or conspiring to
       violate section 70503 of this title is subject to the same penalties as provided
       for violating section 70503.

       In his written plea agreement 1 and at his guilty plea hearing, Garcia-Velasquez

admitted combining and agreeing with others to import cocaine into the United States.

Since the facts contained in the written plea agreement were also admitted in the guilty

plea hearing, the Court will set forth those facts only from the transcript of the guilty plea

hearing:

              THE COURT:             In a moment, I’m going to ask the prosecutor to
       advise the Court of the factual basis for each of the essential elements.
       Please listen carefully to these facts.

              Although the prosecutor is likely to read largely from your plea
       agreement, it is important that you listen to the facts. Because not only are
       they necessary for the essential elements, but the district judge may utilize
       these facts in fashioning an appropriate sentence in your case.

               Do you understand that?

               THE DEFENDANT:               Yes, sir.

               THE COURT:            Mr. Ruddy.

               MR. RUDDY:            Yes, Your Honor.

              The facts do largely track the factual basis contained on Pages 14 and
       15 of the plea agreement.

                From at least as early as 1997 through the date of the Indictment, May
       14th, 2008, the defendant agreed with his co-defendants and other co-
       conspirators to distribute more than five kilograms of cocaine in Colombia
       and utilize remote-controlled self-propelled semi-submersible vessels to
       transport cocaine from Colombia to Central and (sic) America and elsewhere
       for - - for ultimate importation into and distribution in the United States.

       1
           Dkt. #74, case number 8:08-cr-24-T-30AEP, in the Middle District of Florida.



                                               4
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 5 of 9 PageID 370




            In September of 2006 the defendant met with a confidential informant
      in Panama to discuss building a remote-controlled self-propelled semi-
      submersible vessel for 400,0000 (sic) U. S. dollars. The meeting had been
      arranged by a co-defendant, Mr. Carlos Rodrigo Vera.

             In the recorded meeting the defendant described the capacity of the
      vessel, including a cargo capacity of up to 1,800 kilograms of cocaine in
      addition to describing prior successful launchings of such vessels carrying
      cocaine in the past.

             The defendant provided the informant with a diagram of the vessel
      and agreed to meet again after the informant has consulted with his
      collaborators.

             A subsequent meeting occurred in July of 2007 in Panama. This
      meeting was also arranged by Carlos Rodrigo Vera. Due – due to the – an
      expired passport, defendant was unable to attend the meeting, but Lope
      Antonio Lopez-Ortega in his place.

             During the recorded meeting with the informant, Lopez-Ortega
      described his role in the construction of the remote-controlled self-propelled
      semi-submersible, and indicated the price for construction of such a vessel
      had risen from (sic) $550,000 based on the current exchange rates of the
      Colombian peso and American dollar.

            Lopez-Ortega confirmed the prior successful construction and
      launching of these vessels for cocaine traffickers.

             During the time - - during the time before, between and after these
      meetings Carlos Rodrigo Vera in recorded conversations discusses
      knowledge of the purpose for arranging the meetings, and offered to accept
      delivery of up to 10 kilograms of cocaine - - of the cocaine shipment for
      distribution in the United States.

            During the recorded meeting in Panama both Garcia-Velasquez and
      Lopez-Ortega describe how the vessel is designed to avoid detection by law
      enforcement and could be constructed and launched in remote areas to avoid
      law enforcement scrutiny.

             Based upon his arrest in Medellin, Colombia, on August 21, 2008,
      thereafter the defendant gave a post-Miranda statement acknowledging his



                                            5
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 6 of 9 PageID 371




       involvement in the production of a remote-controlled self-propelled semi-
       submersible vessels in Colombia since 1997 approximately.

              The defendant admitted several of the vessels successfully departed
       from the estuaries off the coast of Colombia loading with in excess of 1,000
       kilograms of cocaine.

              THE COURT:            Thank you, Mr. Ruddy.

               Mr. Velasquez, did you hear the facts in support of Count II? That
       is, the count you are pleading to in your plea agreement.

              THE DEFENDANT:                Yes, Your Honor.

              THE COURT:            Do you have any disagreement with those facts?

              THE DEFENDANT:                No, sir.

              THE COURT:            Are these facts true?

              THE DEFENDANT:                Yes, sir.

             THE COURT:            Mr. Abreu, are you satisfied that the facts as read
       in open court and as outlined in the plea agreement meet the essential
       elements as to Count II of the Indictment?

              MR. ABREU:            Yes, Your Honor.

Guilty plea transcript, Dkt. #97, case number 8:08-cr-24-T-30AEP, pp. 31-35.

       The law of the Eleventh Circuit is that federal courts have jurisdiction over

extraterritorial acts that have intended effects within the United States. In United States

v. Ricardo, 619 F. 2d 1124 (5th Cir. 1980)2 the Fifth Circuit explained:

       The United States and this Circuit have traditionally adhered to the objective
       principle of territorial jurisdictional, which attaches criminal consequences

       2
         Cases of the Fifth Circuit prior to the formation of the Eleventh Circuit in 1981 are
binding on district courts in the Eleventh Circuit. Bonner v. City of Pritchard, Ala., 661 F. 2d
1206 (11th Cir. 1981).



                                               6
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 7 of 9 PageID 372




      to extraterritorial acts that are intended to have effect in the sovereign
      territory, at least where overt acts within the territory can be proved. United
      States v. Postal, 589 F. 2d 862, 885 (5th Cir.) and cases cited therein.
      Implicit in these statutes is the notion that the prescribed prohibitions apply
      extraterritorially. See United States v. Cadena, 585 F. 2d 1252, 1259 (5th
      Cir. 1978). It seems somewhat anomalous, however, that Congress
      intended these statutes to apply extraterritorially, but that jurisdiction
      attaches only after an act occurred within the sovereign boundaries. Thus,
      even though the statutes were designed to prevent one type of wrong ab initio,
      under the traditional approach, the courts were without power to act. This
      dichotomy directly contravenes the purpose of the enabling legislation.

      As a result, it is now settled in this Circuit that when the statute itself does
      not require proof of an overt act, jurisdiction attaches upon a mere showing
      of intended territorial effects. Postal, 589 F. 2d at 886, n. 39. The fact that
      appellants intended the conspiracy to be consummated within the territorial
      boundaries satisfies jurisdictional requisites. Under the most recent holding
      in this Circuit, we conclude that, “. . . the district court had jurisdiction to try
      the defendants for a conspiracy aimed at violating United States law and
      intending effects in its territory even in the absence of proof of an overt act
      committed within this country.” Mann, 615 F. 2d at 671. See also United
      States v. Baker, 609 F. 2d 134 (5th Cir. 1980).

U. S. v. Ricardo, 619 F. 2d at pp. 1128-1129.

      Garcia-Velasquez, having admitted that he combined with others to import cocaine

into the United States by way of semi-submersible vessels built by him, is clearly subject

to the jurisdiction of this Court. Not only did he admit successful importations into the

United States, he agreed that he would facilitate further smuggling trips into the United

States by the construction of additional semi-submersible vessels.

      While the statutes in question do not require an overt act committed in the United

States (an agreement with others to attempt to import drugs into the United States is

sufficient), Garcia-Velasquez did combine with others to commit acts within the United

States – he admitted prior successful smuggling trips into the United States and an



                                               7
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 8 of 9 PageID 373




agreement with others to facilitate future smuggling trips by constructing semi-submersible

vessels for that purpose.

                                       CONCLUSION

       Since law of this Circuit is contrary to that argued by Garcia-Velasquez, it is

unnecessary for this Court to require a response from Respondent. Pursuant to Rule 4 on

habeas corpus cases, the petition should be dismissed on the merits even if it were not time

barred.

       It is therefore ORDERED AND ADJUDGED that:

       1.        Petitioner’s Motion to Vacate/Set Aside/Correct Sentence (2255) (Dkt. #1)

is DISMISSED as time barred. If it were not time barred, it would have been dismissed

on the merits.

       2.        The Clerk is directed to terminate any pending motions and close this case.

       3.        The Clerk is directed to terminate from pending status the motion to vacate

found at Dkt. #127, in the underlying criminal case, case number 8:08-cr-24-T-30AEP.

  CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
                       PAUPERIS DENIED

       It is further ORDERED that Petitioner is not entitled to a certificate of appealability.

A prisoner seeking a motion to vacate has no absolute entitlement to appeal a district court's

denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first issue a

certificate of appealability (COA). Id. "A [COA] may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right." Id. at § 2253(c)(2).

To make such a showing, Petitioner "must demonstrate that reasonable jurists would find



                                               8
Case 8:08-cr-00024-JSM-AEP Document 131 Filed 11/15/13 Page 9 of 9 PageID 374




the district court's assessment of the constitutional claims debatable or wrong," Tennard v.

Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

or that "the issues presented were 'adequate to deserve encouragement to proceed further.'"

Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

880, 893 n. 4 (1983)).               Petitioner has not made the requisite showing in these

circumstances. Finally, because Petitioner is not entitled to a certificate of appealability,

he is not entitled to appeal in forma pauperis.

        DONE and ORDERED in Tampa, Florida, this 15th day of November, 2013.




Copies furnished to:
Counsel/Parties of Record

F:\Docs\2013\13-cv-2854 deny 2255.docx




                                                  9
